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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   BRANDON COLEMAN
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-08-306 EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   BRANDON COLEMAN,                )
                                     )     Date:    December 19, 2008
15                  Defendant.       )
                                     )     Time: 10:00 a.m.
16   _______________________________ )     Judge: Hon. Edward J. Garcia
17
18         It is hereby stipulated between the parties, Michael Beckwith,
19   Assistant United States Attorney, and Caro Marks, attorney for
20   defendant Brandon Coleman, as follows:
21        The Status Conference date of October 17, 2008 should be continued
22   until December 19, 2008.     The reason for the continuance is that Ms.
23   Marks was in a car accident and was just released from the hospital and
24   is still recovering.     Ms. Marks will be out of the office for at least
25   a month. Ms. Marks will need additional time to meet with the client
26   once she returns to the office.
27        IT IS STIPULATED that the period from the signing of this Order up
28   to and including December 19, 2008 be excluded in computing the time
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 1   within which trial must commence under the Speedy Trial Act, pursuant
 2   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 3   preparation of counsel.
 4
 5   Dated: October 15, 2008                     Respectfully submitted,
 6                                             DANIEL BRODERICK
                                               Federal Defender
 7
                                               /s/ Caro Marks
 8                                              ________________________
                                               CARO MARKS
 9                                             Assistant Federal Defender
                                               Attorney for Defendant
10                                             BRANDON COLEMAN
11
12   Dated:     October 15, 2008               MCGREGOR SCOTT
                                               United States Attorney
13
14                                              /s/ Michael Beckwith
                                               _________________________
15                                             MICHAEL BECKWITH
                                               Assistant U.S. Attorney
16
17
18                                           ORDER
19             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
20   ordered that the status conference presently set for October 17, 2008,
21   be continued to December 19, 2008, at 10:00 a.m.            Based on the
22   representation of defense counsel and good cause appearing therefrom,
23   the Court hereby finds that the failure to grant a continuance in this
24   case would deny defense counsel reasonable time necessary for effective
25   preparation, taking into account the exercise of due diligence.            The
26   Court finds that the ends of justice to be served by granting a
27   continuance outweigh the best interests of the public and the defendant
28   in a speedy trial.       It is ordered that time from this date to, and


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 1   including, the December 19, 2008 status conference shall be excluded
 2   from computation of time within which the trial of this matter must be
 3   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
 4   3161(h)(8)(A) and (B)(iv) and Local Code T-4, to allow counsel time to
 5   prepare.
 6   Dated:      October 15, 2008
 7                                             /s/ Edward J. Garcia
                                               EDWARD J. GARCIA
 8                                             Senior United States District Judge
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